Case 1:17-cr-20595-DMM Document 1 Entered on FLSD Docket 08/23/2017 Page 1 of TB
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                                                                                          Aug 22, 2017
                             U N ITE D STA TES DIST RIC T CO UR T
                             SO U TH ER N D IST RICT O F FL O R ID A
         17-20595-CR-MIDDLEBROOKS./GARBER
                            CA SE N O .
                                          18U.S.C.j922(g)(1)
                                          18U.S.C.j924(d)(1)
  UN ITED STA TES O F A M ER ICA




  D A NIEL O C H O A ,

         D efendant.
                                        /

                                            IN DIC TM EN T

         The Grand Jury chargesthat:

         On or about Septem ber 5, 2014, in M iam i-D ade County, in the Southenz D istrict of

  Florida,the defendant,

                                        D A NIEL O CH O A ,

  having previously been convicted of a crim e punishable by im prisonm entfor a tenn exceeding

  one year,did know ingly possess a firearm and am m unition in and affecting interstate and foreign

  commerce,inviolationofTitle18,UnitedStatesCode,Sections922(g)(l).
         ltisfurther alleged thatsaid fireann and am m unition are:

     a. One(l)Heckler& Koch,.45calibersemi-automaticpistol'
                                                          ,
     b. Twenty (20)roundsofHornady,.45caliberammunition'
                                                       ,
         Two(2)roundsofEER-P''Remington,.45caliberammunition;and
     d. Thirty-two(32)roundsofSpeer,.45caliberammunition.
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                                  FO R FEITU R E A LLEG A TIO N S

                   The allegations of this Indictm ent are re-alleged and by this reference fully

  incorporated herein for the purpose of alleging crim inal forfeiture to the United States of

  A m erica ofcertain property in w hich the defendant,D A NIEL O CH O A ,has an interest.

         2.        Upon convictionofaviolationofTitle 18,UnitedStatesCode,Section922(g)(l),
  as alleged in this Indictm ent,or any violation of any other crim inal1aw ofthe U nited States of

  A m erica, the defendantshallforfeitto the U nited States ofA m elica any firearm or am m unition

  involved in or used in the com m ission of such violation,pursuant to Title 18, U nited States

  Code,Section924(d)(l).
         3.        The property which is subjectto forfeiture includes,butisnotlimited to,the
  follow ing:

                   a. One(1)Heckler& Koch,.45calibersemi-automaticpistol'
                                                                        ,
                        Twenty(20)roundsofHolmady,.45caliberammunition;
                        Two(2)roundsof'CR-P''Remington,.45caliberammunition;and
                   d. Thirty-two(32)roundsofSpeer,.45caliberammunition
         Allpursuantto Title 18,United StatesCode,Section 924(d)(1),and theproceduresset
  forth in Title 21,U nited States Code,Section 853,as m ade applicable by Title 28,U nited States

  Code,Section 2461(c).
                                                      A TRUE BILL

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  D AN IEL E AN TES
  A SSISTAN T UN ITED STATES A TTO RN EY
                          UNITED STA
 Case 1:17-cr-20595-DMM Document     TES DISTR
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                                                         DA     08/23/2017 Page 3 of 4

UNITED STATES OF AM ERICA                            CASE NO .
VS.
                                                                CERTIFICATE OF TRIAL ATTO RNEY*
DANIEL O CH OA,
       Defendant.
                                      /         Superseding Caselnform ation:

CourtDivision:(selectone)                      New Defendantts)                  Yes             No
                                                Num berofN ew Defendants
X      M iami           Key W est               Totalnum berofcounts
       FTL              W PB
       1do hereby certify that:

                Ihavecaretullyconsideredtheallegationsqftheindictmqnt,thenumberofdefendants,thenumberof
                probablewltnessesand the legalcomplexitlesofthelndlctment/lnform ation attached hereto.
                lam aFare thatthe information supplied ol?thisjtatem entw illberelied upon by theJudges ofthis
                Courtln setting theircalendarsand schedullng crlm inaltrialsunderthem andate ofthe Speedy Trial
                Act,Tltle 28U .S.C.Section 3161.
                Interpreter:    (YesorNo)       No
                Llstlanguage and/ordialect
                Thiscase willtake         2     daysforthe partiesto try.
                Please check appropriate category and type ofoffense listed below :
                (Checkonl
                        yone)                                   (Checkonlyone)
       1        0 to 5 days                                    Petty
       11       6 to l0 days                                   M inor
       II1      11to 20 days                                   M isdem .
       IV       21to 60 days                                   Felony
       V        6ldaysand over
       $        HasthiscasebeenpreviouslyfiledinthisDistrictCourt? (YesorNo)               Yes
       lfyes:
       Judge: Jam esLaFrenceK ing                       CaseN o.            14-c1--20674
       (Attachcopypfdlspositiveordel)
       Hasacomplalntbeenfiledinthlsmatter?              (YesorNo)         No
       lfyes:
       M agistrate CaseNo.
       Related M iscellaneousnumbers:
       Defendantts)infederalcustodyasof     eptem er ,
       Defendantts)instatecpstodyasof
       Rule20 from the Distrlctof
       lsthisapotentialdeathpenaltycase?(YesorNo)      No

                D pesthiscase originate from a matterpending intheN orthern Region ofthe U.S.Attorney'sOffice
                prlorto October14,2003?        Yes              No X

                D gesthiscase originate from a m atterpending in the CentralRegion ofthe U.S.Attorney's Office
                prlorto September 1,2007?      Yes               No X


                                                       DA IIEL C VAN
                                                       ASSISTAN UN ITED STATES ATTORN EY
                                                       FLA BAR NO.40836
*penalty Sheetts)attached                                                                             Rpv4/:/(w
Case 1:17-cr-20595-DMM Document 1 Entered on FLSD Docket 08/23/2017 Page 4 of 4




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                            SO U TH E RN DISTR ICT O F FLO RIDA

                                       PE NA LTY SH EET

  D efendant'sN am e: D AN IEL O C H O A

  C ase N o:

  Count#:l

  Possession ofa fireanu and am m unition by a convicted felon

  Title 18,United StatesCode,Section922(g)(1)
  *M ax.Penalty:       10 Y ears'lm prisonm ent

  WR efers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
   specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
